
PER CURIAM:
These claims against the Farm Management Commission were submitted for decision upon the pleadings. The claimants seek payment for various goods and services furnished to the respondent as follows:
Claimant Amount
Buckeye Gas Products Company ___ $ 95.39
Jenkins Concrete Products Co... $ 940.50
*84The respondent admits the validity and amounts of these claims, but further alleges that sufficient funds were not available at the close of the fiscal years in question from which the obligations could have been paid.
While we feel that these claims should, in equity and good conscience, be paid, we further believe that awards cannot be made, based on our decision in Airkem Sales and Service, et al. v. Department of Mental Health, 8 Ct.Cl. 180 (1971).
Claims disallowed.
